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                                     United States District Court                                      ^p|:^ i i 2014
                                     NORTHERN DISTRICT OF GEORGIA
                                                                                                JAMES N. HAT! tN,L.lerk
                                                                                                             Deputy Cierk
 UNITED STATES OF AMERICA
                 V.
                                                                     CRIMINAL COMPLAINT

 BRENDAN SHERROD PERSON, and
 SHERMAN BERNARD JACKSON                                             Case Number: l:14-MJ-382
                                                                         UNDER SEAL


I, the undersigned complainant being duly sworn, state the following is true and correct to the best of my
knowledge and belief. Between on or about May 28, 2013 and April 2, 2014 in DeKalb, Fulton and
Douglas Counties, located in the Northern District of Georgia, defendant(s) did, aided and abetted by
each other, knowingly Engage in Dealing in Firearms without a License, knowingly Smuggle Goods from
the United States and knowingly Failed to Declare Firearms to a Common Carrier.



in violation of Title 18, United States Code, Section(s) 922(a)(1)(A); 554(a); 922(e); and 2.
I further state that I am a(n) ATF Special Agent and that this complaint is based on the following facts:
PLEASE SEE ATTACHED AFFIDAVIT


Continued on the attached sheet and made a part hereof. Yes




                                                          Signature of Complainant
                                                          AMY K. L.MCLEOD

Based upon this complaint, this Court finds that there is probable cause to believe that an offense has
been committed and that the defendant has committed it. Sworn to before me, and subscribed in my
presence

April 17, 2014                                             at   Atlanta, Georgia
Date                                                            City and State



GERRILYN G. BRILL
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer                              Signature of Judicial Officer
AUSA STEPHANIE GABAY-SMITH
UNITED STATES ATTORNEYS OFFICE
                                                                                        ATTEST: A TRUE COPY
NORTHERN DISTRICT OF GEORGIA
                                                                                          CERTIFIED THIS

                                                                                                      APR 1 ? 2014

                                                                                                James N,       en, Clerk
                                                                                                By:
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                                      AFFIDAVIT

I, Amy K. L. McLeod, affiant, being duly sworn, do depose and state the following:

       1.      I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (ATF), and have been so employed since November 2005. As an ATF

SA, I have completed the Criminal Investigator Training Program at the Federal Law

Enforcement Training Center and have completed specialized training in the fields of

firearms, explosives and arson, and the Federal laws and regulations pertaining thereto,

through the ATF Special Agent Basic Training academy. My duties as an ATF SA

include, but are not limited to, investigating violations of federal firearms and explosives

laws and regulations. I was previously assigned, from November 2005 through

November 2008, to the ATF Riverside Field Office in Riverside, California. I am

currently assigned to ATF Atlanta Group IV, where my duties include the investigation

and enforcement of violations of firearms laws and associated violations encountered in

the course of these duties. Prior to becoming employed with ATF, I received a Bachelor

of Science degree in Administration of Justice from Portland State University located in

Portland, Oregon.


       2.      The information in this affidavit is based upon my personal knowledge,

observations, review of information received from other law enforcement agencies, and

my consultation with law enforcement experts. This affidavit is intended to show only

that there is sufficient probable cause for the requested warrant and does not set forth all

of my knowledge about this matter.




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                                PURPOSE OF AFFIDAVIT

       3.        This affidavit is made in support of an arrest warrant for Sherman Bernard

JACKSON and Brendan Sherrod PERSON for evidence of violations of federal firearms

laws including, but not limited to, Title 18, United States Code, Section 922 (a)(1)(A)

Dealing Firearms Without a License; Title 18, United States Code, Section 554 (a)

Smuggling Goods from the United States; Title 18, United States Code, Section 922 (e)

Failing to Declare Firearms to a Common Carrier; and Title 18, United States Code,

Section 371 Conspiracy. This affidavit is intended to establish probable cause for the

requested arrest warrants and does not purport to set forth all of my knowledge of, or

investigation into, this matter. The information set forth in this affidavit is based upon my

experience, training, personal knowledge, observations, and consultations with other law

enforcement investigators and agents, and other sources of information related to this

investigation.


                          STATEMENT OF PROBABLE CAUSE

       4.        Beginning in June 2013, ATF and other agencies began investigating an

international firearms trafficking scheme, facilitated via the US Mail, in which a person

or group utilized a clandestine website known as Blackmarket Reloaded (BMR).' This


        ^ Blackmarket Reloaded, commonly known as BMR, is a marketplace type
website operating on The Onion Router (TOR) network. It was one of several "black
market" TOR sites specializing in the sale of narcotics, weapons, fraudulent documents,
and other contraband items. Individuals could obtain a "buyer" account, which was free,
or a "vendor" account, which required a one-time payment to BMR as well as a
percentage of any sales made. A separate BMR forum was operated concurrently with
the BMR site, and allowed users to participate in public discussions about other BMR
users, reviews of sellers, questions, and numerous other topics, including the news.




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person or group operated on BMR as usernames CherryFlavor and World Wide Arms.

       5.       In June 2013, the Australian Crime Commission contacted ATF regarding

a firearm recovered by Australian Customs agents in Melbourne, Australia. The firearm

was found secreted inside a karaoke machine contained within a package, hereafter

PARCEL A. The firearm and relevant shipping information is described as:

            •   Zastava, Model CZ, 9mm pistol, bearing serial number 96378;
            •   PARCEL A was sent on May 28, 2013, USPS Tracking Code
                EI418984646, shipped from the United States Post Office (USPO) in
                Winston, GA;
            •   Consignee:   Daniel Sutherland, 45 Princes Hwy, Werribee, Melbourne,
                3030 Victoria, Australia;
            •   Consignor: Dean Stradford, Emiron Music, Inc., 101 2"^ Avenue NE,
                Decatur, A L 35601.


       6.       Australian authorities conducted a controlled delivery of PARCEL A and

interviewed the cosignee, Aaron Howie, who stated he used the alias Daniel Sutherland

when he had the firearm shipped because he knew it was contraband. Howie stated he

purchased the Zastava pistol on BMR from usemame CherryFlavor and paid for the

purchase with approximately $3000 in Bitcoins.^




^ Bitcoin is an anonymous, decentralized form of electronic currency, existing solely on
the internet. It has no central authority and does not utilize traditional banking
institutions. Bitcoin is generated and controlled automatically through computer software
operating on a peer-to-peer network. An individual maintains their Bitcoin currency in
an encrypted "wallet" associated with a Bitcoin "address," designated by a complex
string of letters and numbers. The address is analogous to the account for a bank account,
while the wallet is analogous to a bank safe where the money in the account is physically
located.




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       7.       The Zastava pistol contained in PARCEL A was traced by the ATF

National Tracing Center at the request of the Australian authorities and was determined

to be lawfully purchased from a Federal Firearms Licensee (FFL) by James Wingate,

located in the Murfreesboro, T N area. ATF Nashville agents interviewed Wingate and

determined that he had last sold the firearm to William Jackson, located in Clarksville,

TN. ATF agents interviewed William Jackson, who claimed to have privately sold the

firearm to an unknown white or Hispanic male named Tommy during the weekend of

May 10, 2013, at the Wal-Mart located on Howell Mill Road in the Atlanta, GA area.

William Jackson provided his (Jackson) telephone number of (404) 664-0657.

       8.       On June 23, 2013, Australian authorities notified ATF that the Australian

Customs and Border Protection Agency had intercepted another package, and a firearm

was found secreted inside a DVD player contained within the package, hereafter

PARCEL B. The firearm and relevant shipping information is described as:

            •   Sig Sauer, Model Mosquito, .221r pistol, bearing serial number F23887;
            •   PARCEL B was sent on June 6, 2013,               USPS Tracking Code
                EI420082340US, shipped from the USPO located on Howell Mill Road in
                Atlanta, GA;
            •   Consignee:     Simon Corso, 8 Versailles Place, Narre Warren 3805,
                Melbourne, Victoria, Australia;
            •   Consignor:     Tracy Dunnigan, The Gift Niche, 101 Market Square,
                Roanoke, V A 24011.
       9.       The Sig Sauer pistol contained in PARCEL B was traced by ATF, and was

determined to be lawfully purchased firom an FFL by David Walker, located in the

Gainesville, Georgia area. On July 10, 2013, ATF agents interviewed Walker, who stated




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he purchased the firearm and did not like it, so he advertised the firearm for sale on a

firearms enthusiast website called TheOutdoorsTrader.com (ODT).        Walker stated a

person claiming to be an Atlanta police officer contacted him on the ODT website and

ultimately purchased the firearm. Walker stated he sold the firearm, but did not observe

any form of identification, to include a driver's license or police credentials. Walker

provided telephone number (470) 385-8755 as the contact number provided by the

unknown purchaser. On December 11, 2013, ATF agents conducted another interview of

Walker, who stated that he sold the firearm under his ODT username "dwalker" and the

ODT usemame of the purchaser was "GABornArmyBoy."

       10.      Subscriber information was obtained for telephone number (470) 385-

8755. It was found to be registered to Sherrod PEARSON, 698 Holmes St. NW, Atianta,

GA 30318.

       11.      On August 7, 2013, ATF analysts located a Westem Union transaction,

associated with the telephone number for Sherrod PEARSON (MTCN 5601740420), in

which the following individual sent $600.00 to Raushanah K. Harris in Los Angeles, CA

on June 16, 2013:

             Brendan PERSON
             698 Holmes Street
             Atianta, GA 30303
             Telephone Number: (470) 385-8755.

       12.      A review of the Georgia driver's license issued to Brendan PERSON

establishes that Brendan PERSON'S full name is Brendan Sherrod PERSON. As a result,

there is reason to believe that Sherrod PEARSON is actually Brendan Sherrod PERSON.

       13.      ATF obtained toll records for William Jackson's phone number of (404)




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664-0657. Analysts determined that phone number (706) 615-1288 was in contact with

William Jackson seven (7) times on May 10, 2013, which is the date Jackson advised he

came to Atlanta, Georgia to sell his Zastava pistol.

       14.     A records check found the (706) 615-1288 phone number to be linked to

the Georgia's driver's license of Gerren Johnson.

       15.     An open source review of the Facebook.com website for Gerren Johnson

located a Facebook page for user "GREENJOHNSON88." A review of the Facebook

page located a photo of a black male holding a large sum of cash money with William

Jackson commenting on the post. Two additional Facebook "friends" commented on

Johnson's profile as well; namely, Brendan PERSON (user "Brendan.person.l") and

Sherman JACKSON.

       16.     ATF analysts located two ODT usemames associated with Gerren

Johnson's telephone number of (706) 615-1288. The first, user "GREENJOHNSON,"

posted the phone number in a comment left on a firearm sales ad for a Glock 22 pistol in

January 2013. The second username was "Yosemitesam." Transaction feedback on the

ODT website showed that user "Yosemitesam" purchased firearms multiple firearms

between March 14, 2013 and November 8, 2013.

       17.     A records check found phone number (678) 656-5730 to be linked to the

Georgia driver's license of Sherman Bernard JACKSON, and was later confirmed

through subscriber information obtained via court order. Analysts were able to determine

that this phone number was associated with the ODT user "Romulus."

       18.     ATF analysts compared the profiles of ODT users "Romulus" and




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"Yosemitesam" to the BMR profile for user CherryFlavor, and observed similar postings.

For example, on February 8, 2013, CherryFlavor posted a Marlin XL7 .270 sniper rifle

for sale on BMR, and on March 4, 2013, "Romulus" posted a Marlin XL7 .270 sniper

rifle for sale on ODT. On February 9, 2013, "Romulus" posted a comment on ODT

regarding an FS Leinad Skorpion 9mm pistol which stated that the firearm was "one of

the ultimate bad guy weapons." On February 10, 2013, CherryFlavor posted a "newly

Usted Glock 19 and 9mm Skorpion" for sale on BMR.              In addition, ODT user

"Yosemitesam" received feedback for the purchase of a Springfield XD-9 pistol on

November 6, 2013 and feedback for the purchaser of a Cobray M-11 pistol on November

7, 2013. The same manufacturer, model, and caliber of firearms were then listed for sale

on BMR by CherryFlavor on those same dates.

       19.    On October 15, 2013, United States Postal Inspector (USPI) Kehou Henry

contacted ATF SA Lance Greer regarding copies of labels she obtained for suspicious

packages mailed from the Wesley Chapel Post Office located at 2724 Wesley Chapel

Road, Decatur, Georgia    30034.'^   The parcels were mailed from the Wesley Chapel

USPO between September 26, 2013 and October 10, 2013, to addresses located in

Canada and the United Kingdom (UK). ATF SA Greer forwarded the parcel information

to the ATF Office of Strategic Intelligence (OSI), who in tum forwarded the information

to investigators in both the UK and Canada.

       20.    Two (2) of the packages destined for the United Kingdom were

intercepted by U K authorities and were determined to contain firearms secreted inside


^ The United States Postal Service is a common carrier.




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electronic equipment. The first package, recovered on October 17, 2013 and hereafter

PARCEL C, with firearm and relevant shipping information is described as:

             •   Glock, Model 19, 9mm pistol, bearing serial number UWF640, and;
             •   Glock, Model 26, 9mm pistol, bearing serial number UPZ118, and
                 contained in;
             •   PARCEL C, sent on October 10, 2013, USPS Tracking Code
                 EG237235923US, shipped from the USPO located on Wesley Chapel
                 Road in Decatur, GA;
             •   Consignee: Melissa Lock, 19 Bliss Close, Hinchinbrook, Huntingdon,
                 Cambridgeshire, PE29 6JJ;
             •   Consignor: JVC Distribution Centre, 9100 Riverside Pkwy NW, Atlanta,
                 GA.


       21.       The second package, recovered on October 18, 2013 and hereafter

PARCEL D, with firearm and relevant shipping information is described as:

             •   Glock, Model 19 or 26, 9mm pistol, bearing serial number VFD432, and
                 contained in;
             •   PARCEL D, sent on October 10, 2013, USPS Tracking Code
                 EG237235910US, shipped from the USPO located on Wesley Chapel
                 Road in Decatur, GA;
             •   Consignee: Martin Beard, 9 Ascot Park, Blythwood Lane, Ascot,
                 Berkshire, SL5 8EP;
             •   Consignor: Apex Electronics, 4601 Lewis Road, Stone Mountain, GA.
       22.       One additional package, hereafter PARCEL E, with relevant shipping

information is described as:

             •   PARCEL E, sent on September 26, 2013, USPS Tracking Code
                 EU924661833US, shipped from the USPO located on Wesley Chapel




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                 Road in Decatur, GA.
             •   Consignee: Aaron Bishop, 47 Anover Way, Aldershot, Hampshire, GUI 1
                 3RJ;

             •   Consignor: FM Outlet, 10541 West Sam Houston Parkway, Houston, TX.


       23.       On November 25, 2013 and December 31, 2013 search warrants were

applied for and obtained from the United States District Court, Northern District of

Georgia, for records related to the ODT website usemames "Romulus," "Yosemitesam,"

"GREENJOHNSON," "ODT'er" and "GABornArmyBoy." These search warrants are

frequently referenced in the traces conducted on firearms seized in this investigation and

will be detailed later, in the chronological order in which they were obtained.

       24.       The Glock 26 pistol bearing serial number UPZl 18 and contained in

PARCEL C was traced by the ATF National Tracing Center, and was determined to be

lawfully purchased from an FFL by Thomas Campbell, located in the Newnan, GA area.

On January 8, 2014, ATF SA Greer telephonically interviewed Campbell, who stated that

he privately sold the firearm to a former co-worker named Justin Davis in August 2013.

On this same date, SA Greer telephonically interviewed Davis, who stated he sold the

firearm on ODT under his username "jdavis8." Davis stated that he was contacted on

ODT by user "GABomArmyBoy," who provided the contact telephone number (470)

385-8755 previously associated with Brendan PERSON. DAVIS stated he met ODT user

"GABornArmyBoy" at the Raceway gas station located at Oakley Industrial Boulevard

and GA Highway 74 in Fairburn, GA on either September 27 or September 28, 2013.

Davis described the purchaser as a black male, approximately 6'2" and 250 pounds.




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driving a small sedan vehicle. A review of ODT data obtained via federal search warrant

on December 31, 2013 located a private message on September 27, 2013 between

"jdavisS" and "GABomArmyBoy" regarding the sale of the Glock 26 pistol.

       25.    The Glock 19 pistol bearing serial number UWF640 and contained in

PARCEL C was traced by the ATF National Tracing Center, and was determined to be

lawfully purchased from an FFL by Robert Menz in the Kennesaw, GA area.             On

December 11, 2013, ATF agents attempted to telephonically interview Menz, who

ultimately provided information through his attomey that he had sold the firearm to his

brother, Dustin Menz. On this same date, SA Greer telephonically interviewed Dustin

Menz, who stated that he sold the firearm on ODT under his usemame "Dustin." Menz

stated that he sold the firearm to ODT user "Leftehud," and provided a contact phone

number for that individual. On December 12, 2013, SA Greer telephonically interviewed

Curtis Davidson, who stated that he purchased the firearm on ODT under his usemame

"Leftehud" from ODT user "Dustin." Davidson stated that he later sold the firearm on

ODT to ODT user "Stan-51."

       26.    The Glock 26 pistol bearing serial number VFD432 and contained in

PARCEL D was traced by the ATF National Tracing Center, and was determined to be

lawfully purchased from an FFL by Malin Harmon in the Riverdale, GA area. On

January 8, 2014, ATF agents interviewed Harmon, who stated that he had not purchased

a Glock Model 26 pistol, but rather a Glock Model 19 pistol, from FFL Arrowhead Pawn.

Harmon stated he is not a formal member of ODT but that he responded to a sales listing

on the open forum of ODT regarding a trade for a Saigo .410 shotgun. Harmon stated




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that he traded the Glock pistol to a person on ODT named Dan in exchange for a Saigo

.410 shotgun approximately one month after he initially purchased the firearm from the

FFL in September 2013. Harmon provided a contact phone number for Dan.

       27.    ATF agents obtained the sales ticket from FFL Arrowhead Pawn for

Harmon's purchase of a Glock, Model 19, 9mm pistol bearing serial number VFD432.

SA Greer consulted with ATF Interstate Nexus Experts SA Steve Kosch and SA Monty

Sharitt, who both stated that no manufacturer, and specifically Glock, can legally

reproduce exact same serial numbers across model numbers per federal law.

       28.    On January 8, 2014, SA Greer telephonically contacted "Dan" at the

telephone number provided by Harmon, and determined the individual to be Stan

Stevens. Stevens stated he was a member of ODT under usemame "Stan-51." This is the

same username as had been previously identified by Davidson as the purchaser of the

Glock 19 pistol contained in PARCEL C. Stevens stated he does not maintain ODT

private messages but that he kept notes in a Daytimer regarding some of his sales.

Stevens located an entry in his notes for "Cory" regarding a Saigo .410 shotgun and

another entry for "Sold Pending M e e f for a G19 (Glock 19) on September 29, 2013 for

Malin (Harmon). Additionally, Stevens located an entry on September 30, 2013 for

"Brendan" with the notes "policeman" and "Blue Police Impala," as well as a phone

number of (470) 385-8755, the same phone number that has previously been associated

with Brendan PERSON. Stevens stated "Brendan" arrived in full police uniform and a

police car. On January 13, 2014, ATF agents again interviewed Stevens, who stated that

he did not ask for any identification from "Brendan" due to the individual being in




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uniform and driving a police car, but Stevens admitted that he could not recall a

description of the purchaser, nor could he recall seeing any police jurisdiction or other

identification on the vehicle.

       29.         ATF agents were unable to determine which firearm (the Glock 19 in

PARCEL C or the Glock 19/26 in PARCEL D) was sold by Stevens to the purchaser

identified as "Brendan" and utilizing the phone number associated with Brendan

PERSON.          However, a review of ODT data obtained via federal search warrant on

December 31, 2013 located feedback exchanged between ODT users "Stan-51" and

"GABomArmyBoy" on September 30, 2013 and October 2, 2013.

       30.         The last parcel bound for the United Kingdom, PARCEL E, was never

located by U K authorities. However, the package sent to Aaron Bishop resulted in the

execution of a search warrant at the address listed on the shipping label, and Bishop was

arrested. The unknown firearm was not recovered, but Bishop gave two separate stories

regarding the weapon. He claimed that he picked up the package and provided it to two

men he would not name. He also claimed that he provided the firearm to a middleman

who then provided it to the two unnamed men.

       31.         The parcel destined for Canada, hereafter PARCEL F. with relevant

shipping information is described as:

             •     PARCEL       F.   sent   on   October   8,   2013, USPS   Tracking Code
                   E15600925355US, shipped from the USPO located on Wesley Chapel
                   Road in Decatur, GA;
             •     Consignee:    Kylan Schilling, 177 Nonquon Road, Apt. 515, Oshawa,
                   Ontario, Canada;




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             •   Consignor:   Toshiba Authorized Service Center, 5430 Jimmy Carter
                 Boulevard, Norcross, GA.


       32.       The Royal Canadian Mounted Police (RCMP) forwarded the information

regarding PARCEL E to the Durham Regional Police (DRP), who subsequently executed

search warrants at Schilling's residence and office on October 19, 2013. The search of

his residence resulted in the recovery of the following firearm:

                 •   Glock, model 19, 9mm pistol, bearing serial number RVG593.

       33.       When officers entered the residence to execute the search warrant.

Schilling's laptop computer was open and logged into the BMR website under username

"cdnvaper." ATF analysts determined from a review of the BMR website that user

"cdnvaper" left feedback on the CherryFlavor profile on October 16, 2013, indicating that

"cdnvaper" had received a Glock 19 Gen 4 pistol.             The BMR order date from

CherryFlavor was October 7, 2013. PARCEL F shipped to Schilling from the Wesley

Chapel USPO on October 8, 2013.

       34.       The Glock 19 pistol recovered from Schilling was traced by the ATF

National Tracing Center, and was determined to be lawfully purchased from an FFL by

Ricky HOWARD in the Acworth, GA area. On January 21, 2014, ATF SA McLeod

telephonically interviewed HOWARD, who stated that he had traded the firearm to a

different FFL, which he believed to be FFL Acworth Guns in Acworth, GA. SA McLeod

spoke with a clerk at FFL Acworth Guns, who confirmed that HOWARD had traded the

Glock 19 pistol to the store in early 2013. The clerk further stated that the pistol had

been sold on April 4, 2013 to Benjamin Hall, and provided a copy of the ATF Form 4473




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to SA McLeod to confirm the purchase.             On January 22, 2014, SA McLeod

telephonically interviewed Hall, who stated he had sold the firearm on ODT under his

username      "bengun66."    Hall   stated   he   was   contacted   on   ODT    by   user

"GABornArmyBoy" in June 2013, who provided the contact telephone number (470)

385-8755 that has been previously associated with Brendan PERSON. Hall stated that

after corresponding via private messaging on ODT and through text messages, he met

with ODT user "GABornArmyBoy" at the Chick-Fil-A restaurant located on Windy Hill

Road in Marietta, GA. Hall described the purchaser as a black male, approximately 6'0"

tall, driving a dark or black four-door sedan. A review of ODT data obtained via federal

search warrant on December 31, 2013 located private messages on June 14 and June 15,

2013 between "bengun66" and "GABornArmyBoy."

       35.      USPI Henry obtained surveillance video from the Wesley Chapel USPO in

reference to the parcels sent on September 26, 2013 (PARCEL E), October 8, 2013

(PARCEL F) and October 10, 2013 (PARCEL C and PARCEL D). From a review ofthe

video surveillance, it appears that all four packages were shipped by the same black male

individual.

       36.      Through additional social media research, pictures of PERSON were

located on PERSON'S mother's Facebook page. PERSON'S driver's license and jail

booking photographs of PERSON were previously obtained. These images were visually

compared to the surveillance video, and the black male in the surveillance footage

appears to resemble suspect Brendan PERSON. Additionally, the video revealed that the

suspect parked his vehicle in front of the USPO on September 26, 2013 and October 8,




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2013. The vehicle appeared to be a dark colored Chevrolet Impala. On both dates, the

suspect was seen removing large cardboard box packages from the passenger seat of the

vehicle and entering the post office.

       37.       On October 25, 2013, ATF conducted physical surveillance and collected

license plate information at multiple addresses, to include 698 Holmes Street, Atlanta,

Georgia. A blue Chevrolet Impala, bearing Georgia license plate PNW6690, which is

registered to PERSON, was located at the apartment complex. This specific vehicle is a

"police" model and is equipped with an extemal spotlight on the driver's side.

       38.       On October 28, 2013, ATF conducted physical surveillance at 698 Holmes

Street, Atlanta, Georgia and located a 2004 Silver Volkswagen Jetta, bearing Georgia

license plate BTU6701, which is registered to Joan Johnson Anderson, of 100 Horseshoe

Lane, Hiram, Georgia 30141. Georgia Department of Driver's Services queries revealed

that Gerren Johnson's driver's license is registered to 100 Horseshoe Lane, Hiram,

Georgia. Additionally, a YouTube video entitled "on my grind-Green Johnson," shows

Gerron Johnson in front of the same vehicle in what appears to be the parking lot of the

698 Holmes St., Atlanta, Georgia apartment complex.

       39.       On November 12, 2013, United States Postal Inspectors alerted ATF to a

suspicious package mailed from the Howell Mill USPO in Atlanta, GA. ATF forwarded

this shipping information to the Austrian Europol office, which then coordinated with

Austrian Customs authorities to intercept the package, hereafter PARCEL G.          The

shipping information is described as follows:

             •   PARCEL G, sent on November 12, 2013, USPS Tracking Code




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                 EI527126873US, shipped from the USPO located on Howell Mill Road in
                 Atlanta, GA;
             •   Consignee: Christoph Wolf, Weyringergasse 38/5, A-1040 Vienna, Wien,
                 Austria;
             •   Consignor:     Adrian Redfield, Circle Sound, 13700 NW 1'* Avenue,
                 Miami, FL.


       40.       A search of PARCEL G resulted in the recovery of a firearm. The release

of further information regarding the firearm and the Austrian investigation is pending the

completion of a Mutual Legal Assistance Treaty (MLAT) with Austria.

       41.       On November 14, 2013, the Sweden National Unit at Europol notified

ATF that Customs Officers in the Arlanda Mail Terminal in Sweden had intercepted a

package, hereafter PARCEL H. The relevant shipping information is as follows:

             •   PARCEL H . sent on November 12, 2013, USPS Tracking Code
                 E1752989624US, shipped from the USPO located on Howell Mill Road in
                 Atlanta, GA;
             •   Consignee: Anders Hellstrom, Kongahallagatan 868, Se-44238 Kungalv,
                 Bohuslan, Sweden;
             •   Consignor:     Adrian Redfield, Circle Sound, 13700 NW 1'* Avenue,
                 Miami, FL.


       42.       A search of PARCEL H resulted in the recovery of a firearm. The release

of further information regarding the firearm and the Swedish investigation is pending the

completion of an MLAT with Sweden.

       43.       On November 18, 2013, ATF conducted surveillance at the residence

located at 698 Holmes Street, Atlanta, Georgia. At approximately 1:18 pm, a subject




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later identified as Sherman JACKSON was observed leaving Apartment A of the 698

Holmes Street NW building carrying two large cardboard boxes with what appeared to be

white shipping labels on the sides. JACKSON walked to a silver-colored Ford Taurus

and placed the boxes into the trunk of the vehicle. JACKSON returned to Apartment A,

retrieved another box that he placed into the vehicle, retumed to the apartment again, and

then exited carrying paperwork. JACKSON got into the Ford Taurus and departed the

apartment complex.

       44.     ATF surveillance units followed JACKSON. At approximately 2:24 pm,

JACKSON arrived at the USPO located at 2929 Post Road, Winston, Georgia 30187.

Investigators had previously traced the shipment of PARCEL A to this same USPO.

JACKSON was observed entering the post office and then exiting several minutes later

with paperwork in hand.

       45.     At approximately 2:49 pm, JACKSON was observed carrying two large

cardboard boxes with white shipping labels attached into the USPO. Shortly thereafter,

he retumed to his vehicle and retrieved a third box, which he carried into the USPO.

ATF Group Supervisor Chad Munn notified USPI Henry about the attempted shipment

by JACKSON.       At approximately 3:15 pm, JACKSON exited the post office with

paperwork in hand, returned to his vehicle and departed.

       46.     During this same time, USPI Henry seized the three packages mailed by

JACKSON at the Winston, Georgia USPO. The packages were taken into USPS custody

pending a federal search warrant for their contents.




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       47.       On November 20, 2013, USPI Henry obtained federal search warrants'*

from the Northem Judicial District of Georgia for the three packages (hereafter PARCEL

I, PARCEL J and PARCEL K) seized from the USPO in Winston, GA. The ATF

Forensic Laboratory in Atlanta, GA assisted in the execution of the federal search

warrants on the packages.

       48.       PARCEL I was invoiced as an Apex DVD player and DVD movie. The

package contained a DVD player and a firearm was found secreted inside. The firearm

and relevant shipping information is described as:

             •   Glock, Model 17 Gen 4, 9mm pistol, bearing serial number G46288 on the
                 receiver and serial number SVP 106 on the slide, with one magazine, and
                 contained in;
             •   PARCEL 1. USPS Tracking Code EH960328169US:
             •   Consignee: J. Dekort, Kube 8, Samberstraat, 2060 Antwerp, Antwerp,
                 Belgium;
             •   Consignor: Kasey Dunnigan, 2313 Whitesburg Drive South, Huntsville,
                 A L 35801.


       49.       PARCEL J was invoiced as a DVD player and DVD movie. The package

contained a GE brand DVD player and a firearm was found secreted inside. The firearm

and relevant shipping information is described as:

             •   Glock, Model 17 Gen 4, 9mm pistol, bearing serial number VEM403, with
                 two magazines, and contained in;
             •   PARCEL J. USPS Tracking Code EH960328172US;


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             •   Consignee: L. Winther, Blaakidevej 3, 6880 Tarm, Denmark;
             •   Consignor: Kasey Dunnigan, 2313 Whitesburg Drive South, Huntsville,
                 AL 35801.


       50.       PARCEL K was invoiced as an antique cotton candy machine. The

package contained a cotton candy machine and a firearm was found secreted inside. The

firearm and relevant shipping information is described as:

             •   Beretta, Model 3032 Tomcat, .32 Auto caliber pistol, bearing serial
                 number DAA434860, with one magazine, and contained in;
             •   PARCEL K. USPS Tracking Code EI785256860US;
             •   Consignee: Kyle Strong, 308 Manor Lane, Lee, Sel2 OTP London,
                 England, UK;
             •   Consignor: Kasey Dunnigan, 2313 Whitesburg Drive South, Huntsville,
                 AL 35801.


       51.       The Glock 17 pistol contained in PARCEL I was traced by the ATF

National Tracing Center, and was determined to be lawfully purchased from an FFL by

Justin Wills, located in the Stone Mountain, GA area. On December 10, 2013, ATF

agents interviewed Wills, who stated he originally purchased the firearm via private sale

from an individual on ODT, and that the original serial number of the firearm was SN#

SVP 106. Wills stated that he had the receiver of the firearm replaced by Glock Inc. in

Smyrna, GA, and the new serial number issued on the receiver of the firearm was SN#

G46288. This accounts for the two different serial numbers found on the firearm. Wills

stated that he later sold the firearm on ODT under his username "chaostat." Wills stated

he was contacted on ODT by user "ODT'er" on November 12, 2013, who provided the




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contact telephone number (470) 385-8755 that has been previously associated with

Brendan PERSON and ODT username "GABornArmyBoy." Wills stated that after

corresponding via text messages and phone, he met with ODT user "ODT'er" at the

AutoZone store located on Stone Mountain Highway near Lithonia, GA. Wills described

the purchaser as a black male, approximately 5'8" with a stocky build, driving a late

model blue Chevrolet Impala with a spotlight on the driver side. The description matches

that of the 2007 blue Chevrolet Impala registered to PERSON. Wills provided a printed

copy of the email notification with the private message from ODT user "ODT'er."

       52.     The Glock 17 pistol contained in PARCEL J was traced by the ATF

National Tracing Center, and was determined to be lawfully purchased from an FFL by

Richard Hanson, located in the Flowery Branch, GA area. On December 10, 2013, ATF

agents interviewed Hanson, who stated that his name was incorrectly reported on the

trace summary and his actual last name was Honsa. Honsa stated he sold the firearm on

ODT under his username "ricky_45." Honsa stated he was contacted on ODT by user

"Romulus," and after corresponding via private messaging on ODT and text messaging,

they met at the Cracker Barrel restaurant located on Friendship Road and Interstate 985 in

Buford, GA. Honsa described the purchaser as a black male, approximately 5'9" with a

thin face, very well-dressed and well-spoken, driving an older four-door vehicle. Honsa

asked if the purchaser could lawfully own a firearm, which the purchaser stated he could,

and Honsa asked to see a Georgia concealed carry permit. The purchaser showed Honsa a

Georgia concealed carry permit. SA Greer asked Honsa i f he might be able to recognize

or identify the purchaser i f shown photographs, and Honsa stated that he might. SA




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McLeod read Honsa the photo line-up admonition and showed Honsa three photographic

line-ups, but Honsa was unable to recognize any of the individuals in the photographs. A

review of ODT data obtained via federal search warrant on November 25, 2013 located

private messages on November 16, 2013 between "ricky_45" and "Romulus," as well as

sales feedback left by "ricky_45" for "Romulus" on November 26, 2013.

       53.     The Beretta pistol contained in PARCEL K was traced by the ATF

National Tracing Center, and was determined to be lawfully purchased from an FFL by

Richard Rosenfield, located in the Woodstock, GA area. On December 11, 2013, ATF

SA McLeod telephonically interviewed Rosenfield, who stated that he had traded the

firearm to FFL Hi-Caliber in Woodstock, GA. ATF agents interviewed a clerk at FFL

Hi-Caliber who confirmed that Rosenfield had traded the firearm to the store, stated that

the FFL had later sold the firearm to Chris Walker, and provided a copy of the ATF Form

4473 to SA McLeod to confirm the purchase. SA Greer telephonically interviewed

Walker, who confirmed that he had purchased the Beretta pistol from FFL Hi-Caliber and

stated he had later sold the firearm on ODT under his usemame "Walkersky89." Walker

stated the firearm was sold to ODT user "UTAH9362" and provided a contact number for

the purchaser. On January 8, 2014, SA Greer telephonically interviewed Rich Ramires,

who confirmed that he was ODT user "UTAH9362" and that he had purchased the

Beretta pistol from ODT user "Walkersky89." Ramires stated he traded the firearm on

ODT to an individual named Cliris Girage, and provided a contact number for Girage.

On this same date, S A Greer telephonically interviewed Girage, who confirmed that he

had purchased the Beretta firearm but later sold the firearm on ODT under his usemame




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"Classic Blue." Girage stated that he usually deleted private messages on ODT after a

sale, but that he would research his ODT profde for any fiirther information related to the

sale.

        54.    On January 8, 2014, Girage contacted SA Greer and related the following

information regarding the sales history of the Beretta pistol:

               a. On July 20, 2013, he sold the firearm on ODT to user "Dr J Terrell."

               b. On July 21, 2013, ODT user "Dr J Terrell" posted the firearm for sale

                   on ODT.

               c. On July 27, 2013, ODT user "Dr J TerreU" left positive feedback for

                   ODT user "GA Johnny."

               d. On September 14, 2013, ODT user "GA Johnny" listed the firearm for

                   sale on ODT.

               e. On September 19, 2013, ODT user "GA Johnny" left positive sales

                   feed back to ODT user "Golden Jake."

               f   On October 2, 2013, ODT user "Golden Jake" listed the firearm for

                   sale.

               g. On October 3, 2013, ODT user "J W h i f left positive feedback for user

                   "GA Johnny."

               h. On October 28, 2013, ODT user "J W h i f posted the firearm for sale,

                   and ODT user "Romulus" publicly contacted "J Whit" regarding the

                   firearm.

        55.    A review of ODT data obtained via federal search warrant on November




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25, 2013 located a private message on October 28, 2013 between ODT users "J Whit"

and "Romulus." Based upon the private message, SA Greer was able to locate a contact

number for ODT user "J Whit." On January 10, 2014, ATF agents interviewed Jordan

Whitson, who confirmed that he was ODT user "J Whit." Whitson stated that ODT user

"Romulus" had originally contacted him regarding the sales listing for the Beretta firearm

on October 28, 2013, and Whitson had provided a contact telephone number. Whitson

stated that "Romulus" did not contact him via text until November 3, 2013, and the

telephone number he corresponded with was (678) 570-2451, which has previously been

associated with JACKSON.          Whitson stated he met "Romulus" at the Kroger

Supermarket located on Howell Mill Road in Atianta on November 3, 2013. Whitson

described the purchaser as a black male, approximately 5'8" or 5'9" with a skinny build,

and approximately 25 years old. Whitson stated the purchaser arrived in a dark blue

Chevrolet Impala, which Whitson believed to be a former police vehicle due to the dark

tinted windows and the outside mount for an external mirror or spotlight. Whitson stated

he reviewed the purchaser's Georgia driver's license and concealed weapons permit, and

observed the name "Jackson" on both, but could not recall i f Jackson was the first or last

name of the purchaser.     Whitson provided copies of the private messages between

himself and "Romulus" on ODT on October 28, 2013 and November 4, 2013, as well as

the text messages exchanged between him and the (678) 570-2451 telephone number. A

further review of ODT data obtained via federal search warrant on November 25, 2013

also located the exchange of sales feedback between "J Whit" and "Romulus" on

November 4,2013.




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       56.        On November 21, 2013, ATF conducted an analysis of user CherryFlavor

on BMR, which includes, but is not limited to, the following:

             •    On November 18, 2013, CherryFlavor had the following firearms listed
                  for sale: Baby Glock 26 9inm Gen 4, Cobray 9mm M a c l l Submachine
                  Pistol, Glock 19, Ruger LC9 with Laser,           Springfield XD 9mm
                  Subcompact, Taurus PT1911 .45, and full auto sear kit for all Clocks.
             •    Between November 14 and November 18, 2013, the date upon which three
                  parcels were seized from the Winston, GA USPO, two listings were
                  removed from the sales postings, indicating that they were sold: namely, a
                  Beretta 3032 Tomcat pistol and a Glock 17 Gen 4 pistol. Both a Beretta
                  3032 Tomcat Pistol (PARCEL K. Paragraph 50) and a Glock 17 Gen 4
                  pistol (PARCEL L Paragraph 48) were seized in the intercepted parcels.


       57.        On November 21, 2013, ATF agents applied for and received a federal

search warrant^ authorizing the search of Sherman JACKSON's residence located at 698

Holmes Street NW, Apartment A, Atlanta, Georgia, 30318. On this same date, ATF

agents executed the search warrant and seized, among other items:

         a. Marlin, Model XL-7, .270 caliber rifle, serial number 91726482, which is
                 the same manufacturer, model and caliber as the firearm discussed in the
                 post by user "Romulus" on ODT and CherryFlavor on BMR (see Paragraph
                 18);
         b. An empty box for a Glock, Model 17, 9mm pistol, serial number SVP 106,
                 which matches the firearm seized from PARCEL I sent to Jan Dekort in
                 Antwerp, Belgium (see Paragraph 48);
         c. An empty box for a Glock, Model 17, 9mm pistol, serial number VEM403,
                 which matches the firearm seized from PARCEL J sent to L. Winther in

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                  Denmark (see Paragraph 49);
         d. An empty box for a Beretta, Model 3032 Tomcat, .32 caliber pistol, which
                  matches the manufacturer, model and caliber as the firearm seized from
                  PARCEL K sent to Kyle Strong in the UK (see Paragraph 50);
         e. Glock, Model 17 Gen 4, 9mm pistol, bearing serial number VEF823;
         f        Ruger, Model LC9, 9mm pistol, bearing serial number 323-04600;
         g. Glock, Model 19, 9mm pistol, bearing serial number VLA740;
         h. Test fire casings for a Walther, Model P22, .22 caliber pistol, bearings serial
                  number Z099814;
         i.       Test fire casings for a Glock, Model 23 Gen 4, .40 caliber pistol, bearing
                  serial number SBR077;
        j.        An empty box for a Glock, Model 17, 9mm pistol, bearing serial number
                  NST748; and
         k. An Apple I-Phone 5, Serial Number DNRK5DJ3DTTN, utilizing telephone
                  number (404) 632-6287.


       58. As granted in the federal search warrant, ATF SA McLeod conducted an

analysis of the data stored on the Apple l-Phone 5 seized from JACKSON during the

course of the warrant on his residence. Many of the following determinations are based

upon SA McLeod's knowledge of the BMR website and review of the evidence seized

during the search. According to SA McLeod, an analysis of the contacts stored in the

phone revealed the following:

              •    The mobile number assigned to the phone is (787) 245-7867, which
                   originates in Puerto Rico.        However, based upon SMS and MMS
                   messaging, it appears that the current mobile number utilized by the phone
                   is (404) 632-6287. This number is listed in the phone contacts as "Me,"




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                 with the associated email address of 89gunman(gigmail.com and the
                 address of 698 A Holmes Street NW, Atlanta, Georgia 30318.
             •   The contacts contained two entries for "Gerren," believed to be Gerren
                 Johnson, with two associated phone numbers; specifically, one of which is
                 (706) 615-1288.                                               i
             •   The contacts contained an entry for "Brendan," believed to be Brendan
                 PERSON, with several associated phone numbers; specifically, one of
                 which is (678) 385-8755, the number for which Sherrod PEARSON is
                 listed as the subscriber.
       59.       An analysis of the call log stored on the phone revealed that between

November 15, 2013 and November 21, 2013 (the date that the phone was seized), there

were numerous phone calls between JACKSON, the number (470) 385-8755 associated

with PERSON, and the number (706) 615-1288 associated with Johnson.

       60.       An analysis of the photographs stored in the Apple 1-Phone 5 revealed the
following:
             •   JPEG Image image_66 is a screenshot of the BMR website.                The
                 screenshot contains the header "BMR-CherryFlavor" just above the URL.
             •   JPEG Image image_67 is a screenshot of the BMR website.                The
                 screenshot contains a listing of the feedback (user reviews) left for the
                 user. Several of the reviews mention "Cherry," which is known to be a
                 reference to user "CherryFlavor."
             •   JPEG Image image PO is a photograph of a topless Asian woman
                 imprinted with the initials "CF" in the top left and lower right comers, as
                 well as the words "CherryFlavor" and "BMR" across the center.
             •   JPEG Image original has the same imprinted photograph as seen in JPEG
                 Image image_90, with a Springfield Armory XD9 9mmpistol placed over
                 it.




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             •     JPEG Image image_93 is a photograph of a blonde woman imprinted with
                  the initials "CF" in the upper left comer, and the words "CherryFlavor"
                   and "BMR" across the bottom. The photograph of the woman is the same
                   as used by BMR user "CherryFlavor" as his icon on the BMR website.
             •     JPEG Image IMG 1749 is a screenshot of an online banking account
                   listing the owner as "Mr. Sherman Jackson" with the associated email
                   address 89gunman@gmail.com.       Of particular note is the IP address
                   associated with the account (IP: 66.87.109.142) which has appeared in
                   federal search warrant data received on November 25, 2013 for ODT user
                   "Romulus."^

       61.       An analysis of the installed "apps," or applications, stored on the phone

revealed that iTorChat and The Onion Browser (TOR)^ were installed on the phone.

TOR is the application through which the BMR website must be accessed.

       62.         An analysis of the calendar notes stored on the phone found the following

notation of "Pearl: EH960328186US" dated November 20, 2013. SA McLeod queried

the number and found it to be a United States Postal Service tracking number. USPI

Henry was able to locate the corresponding shipping label, originating out of the

Moreland Avenue USPO in East Atlanta, GA. The package was dated November 19,

2013 and was addressed to an Anders Hellstrom in Bahustan, Sweden, the same recipient

as listed on PARCEL H (Paragraphs 41 and 42). This shipping information was provided

by ATF to the Sweden National Unit at Europol.


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  The Onion Router, commonly known as TOR, is a computer program designed to create
an anonymous network through which an individual can access the internet while
masking, or otherwise routing, their Intemet Protocol (IP) address in a manner that makes
it difficult or impossible to trace.




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       63.    ATF initiated traces of the firearms recovered from JACKSON's

residence, as well as for the empty Glock box (Paragraph 57j) and the test fire casings

(Paragraph 57h and 57i). The Marlin rifle was traced by the ATF National Tracing Center

and was determined to be lawfully purchased from FFL Nick's Gun & Range in Marietta,

GA on October 17, 2009 by Sherman JACKSON.

       64.    The Glock 17 pistol seized fi-om JACKSON (Paragraph 57e) was traced

by the ATF National Tracing Center, and was determined to be lawfully purchased from

an FFL by Christopher Holder, located in the Gumming, GA area. On December 10,

2013, ATF agents interviewed Holder, who stated that he had sold the firearm on ODT

under his username "Cand T0274."         Holder stated he was contacted via private

messaging on ODT by user "ODT'er," who provided the (470) 385-8755 phone number

previously associated with PERSON and ODT user "GABornArmyBoy." Holder stated

that he met "ODT'er" at the Academy Sports Store in Gumming, GA on November 18,

2013. Holder described the purchaser as a black male, approximately 6'0" and 240

pounds with a medium build and buzzed hair, driving a dark Chevrolet Impala "police

vehicle" with a spotlight on the driver side.   Holder asked the purchaser to see his

driver's license and concealed carry permit, both of which the purchaser showed to him.

Holder advised that he was an employee of FFL Bulls Eye Marksman, fiom whom he

originally purchased the firearm, and he had been present when the ATF National

Tracing Center called the FFL to trace the firearm. Holder stated that he called the

purchaser, who told him that he had sold the firearm. Holder further stated that after SA

McLeod had contacted him to arrange the interview, he had attempted to call the




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purchaser again, but the number had been disconnected. Holder provided a copy of the

private message he received on ODT from user "ODT'er." A review of ODT data

obtained via federal search warrant on December 31, 2013 located private messages on

November 18, 2013 and December 3, 2013 between "Cand T0724" and "ODT'er."

       65.     The Ruger LC9 pistol seized from JACKSON (Paragraph 57f) was traced

by the ATF National Tracing Center, and was determined to be lawfully purchased from

an FFL by William Hindman in the Locust Grove, GA area. On January 3, 2014, SA

Greer telephonically interviewed Hindman, who stated that he privately traded the pistol

to a person known to him as "Jesse," and provided a contact phone number. On this

same date, SA Greer telephonically interviewed Jesse Tims, who confirmed that he

traded the firearm from Hindman and later sold the firearm on ODT under his usemame

"JesseT." TIMS checked his ODT profile and determined that he sold the firearm to

ODT user "Scottl769kjv," and provided a contact phone number. On this same date, SA

Greer telephonically interviewed Scott McElyea, who confirmed that he was ODT user

"Scottl769kjv." McElyea stated he had recently deleted private messages on his ODT

profile, but stated that he had a feedback on October 16, 2013 related to the sale of the

firearm. McElyea stated that the ODT user was "GABornArmyBoy." McElyea located

text messages on his phone related to the transaction, and provided the (470) 385-8755

phone number previously associated with PERSON, JACKSON, and ODT users

"ODT'er" and "Romulus." McElyea stated he met the purchaser at the Bass Pro Shop in

Lawrenceville, GA on or around October 12, 2013, and described the purchaser as a

black male, heavier set and driving a small sedan.




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       66.      The Glock Model 19 pistol seized from JACKSON (Paragraph 57g) was

traced by the ATF National Tracing Center, and was determined to be lawfully purchased

from an FFL by Eric Tingler in the Newborn, GA area. On January 3, 2014, SA Greer

telephonically interviewed Tingler, who stated that he sold the firearm on ODT under his

usemame "Dawgs2323." Tingler stated he was contacted via private messaging on ODT

by user "ODT'er," who provided the telephone number (470) 385-8755 that has

previously    been    associated     with   PERSON,     JACKSON,      and   ODT     users

"GABornArmyBoy" and "Romulus."               Tingler stated he met with "ODT'er" on

November 14, 2013, and sold two Glock pistols to the individual. Tingler could not

provide a serial number for the second firearm, but stated that it was also a Glock Model

19 9mm pistol. Tingler described the purchaser as a black male, approximately 6'0" and

230 pounds, driving a dark "former police model" Chevrolet Impala with a mount on the

driver's side for an external spotlight.

       67.     The serial number listed on the empty Glock 17 pistol box seized from

JACKSON (Paragraph 57b) was traced by the ATF National Tracing Center, and was

determined to be lawfully purchased from an FFL by Anthony Yates, located in the

Covington, GA area. On February 6, 2014, SA Greer telephonically interviewed Yates,

who stated that he sold the firearm to his co-worker, Alex Tidwell.            SA Greer

telephonically interviewed Tidwell, who stated that he sold the firearm on ODT under his

username "ForrestGumpl5."          Tidwell later contacted SA Greer to provide additional

information, stating that he had sold the firearm to ODT user "Hackja4fun" on July 30,

2013, and provided the contact number for the purchaser. On this same date, SA Greer




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contacted Jeremy Bales, who confirmed that he was ODT user "Hackja4fun" and stated

that he had sold the firearm to his brother, Jason Bales. Jeremy Bales was able to log into

the ODT account of his brother Jason Bales, and relayed that although there were no

private messages remaining, his brother did have feedback on November 6, 2013 from

ODT user "ODT'er." Jeremy Bales provided SA Greer's contact information to his

brother, and Jason BALES contacted SA Greer for a telephonic interview. Jason Bales

stated that his ODT usemame was "Matthewzmax." Bales was unable to recall any

details about the sale to "ODT'er." A review of ODT data obtained via federal search

warrant on December 31, 2013 located private messages on November 4, November 6

and November 7, 2013 between "Matthewzmax" and "ODT'er," in which "ODT'er"

provided the (470) 385-8755 telephone number previously associated with PERSON,

JACKSON, and ODT user "GABomArmyBoy" and "Romulus." The review also located

feedback exchanged between "Matthewzmax" and "ODT'er" on November 5 and

November 6, 2013.

       68.     The serial number for the Walther P22 test fire casings seized from

JACKSON (Paragraph 57h) was traced by the ATF National Tracing Center and was

determined to be lawfully purchased from FFL Harleys Guns and Ammo, Inc. by

Sherman JACKSON. The firearm was sold at the RK Gun Show in Marietta, GA on

January 20, 2013.

       69.      The serial number for the Glock 23 test fire casings seized from

JACKSON (Paragraph 57i) was traced by the ATF National Tracing Center and was

determined to be lawfully purchased from an FFL by Brandon Calvary in the Dallas, TX




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area. On January 16, 2014, SA Greer telephonically interviewed Calvary, who stated that

he lived in Tennessee and had sold the firearm through the GlockTalk.com website in

January 2013. On January 17, 2014, after reviewing his notes, Calvary provided the

name "Jeremy" and a contact phone number for the purchaser. On this same date, SA

Greer telephonically interviewed Jeremy Yarbrough, who confirmed that he purchased

the Glock 23 pistol and later sold it on ODT under his usemame "JerYar." Yarbrough

stated he was contacted via private messaging on ODT by usemame "Romujus" and that

the sale had occurred on January 24, 2013. Yarbrough could not specify the race of the

purchaser, but described him as small in stature and skinny.       Yarbrough stated he

confirmed that the purchaser had a concealed weapons permit but did not recall any other

identifying information. A review of ODT data obtained via federal search warrant on

November 25, 2013, located private messages on January 24, 2013, between "JerYar"

and "Romulus."

       70.       On November 25, 2013, ATF agents applied for and received a United

States District Court, Northem District of Georgia search warrant^ for records related to

TheOutdoorsTrader.com (ODT) website usemames "Romulus," "GREENJOHNSON,"

and "Yosemitesam." An analysis of the private messaging data retumed from ODT for

the aforementioned usemames includes, but is not limited to, the following:

             •   User "Romulus" identified himself in several messages as Sherman,
                 Bemie, and Jackson.    When attempting to contact another ODT user
                 regarding a firearm to purchase, "Romulus" also requested the seller to
                 contact the telephone number (678) 656-5730 or to email JACKSON*s


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                 known email address of 89gunman(g)gmail.com.
             •   On February 19 and 20, 2013, "Romulus" requested the seller to contact or
                 text telephone number (470) 385-8755, the number associated with
                 Brendan PERSON.
             •   "GREENJOHNSON" and "Yosemitesam" both request ODT sellers to
                 contact telephone number (706) 615-1288, the number associated with
                 Gerren Johnson.
             •   "Yosemitesam" informed an ODT user prior to meeting that he will be
                 driving a "grey jetta." A silver Volkswagen Jetta has been previously
                 associated with Johnson (Paragraph 39).
             •   On July 12, 2013, "Yosemitesam" requested an ODT user to contact him
                 at telephone number (404) 632-6287, the number associatpd with the
                 phone seized from JACKSON.
       71.       Also on November 25, 2013, the Sweden National Unit at Europol

notified ATF that based upon shipping information provided by ATF, Swedish Customs

Officers in the Arlanda Mail Terminal in Sweden had seized a package, hereafter

PARCEL L. The relevant shipping information is as follows:

             •   PARCEL L, sent on November 19, 2013, USPS Tracking Code
                 EH960328186US, shipped from the USPO located on Moreland Avenue
                 in Atlanta, GA;
             •   Consignee: Anders Hellstrom, Kongahallagatan 868, Se-44238 Kungalv,
                 Bohuslan, Sweden;
             •   Consignor:   Gabriel Sanchez, A l l Pro Sound, 806 Beverly Parkway,
                 Pensacola, FL.


       72.       The USPS tracking number for PARCEL L matched that of the note

located during an analysis of the cellular telephone seized from JACKSON (Paragraph




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62). The shipping information and date matched that of the tracking information. A

search of PARCEL L resulted in the recovery of a firearm. The release of further

information regarding the firearm and the Sv^edish investigation is pending the

completion of an M L A T with Sweden.

        73.       On December 31, 2013, ATF agents applied for and received a United

States District Court, Northem District of Georgia search warrant^ for records related to

the ODT website usemames "GABomArmyBoy" and "ODT'er." An analysis of the

private messaging data retumed from ODT for the aforementioned usemames includes,

but is not limited to, the following:

              •   User "GABomArmyBoy" consistently used the telephone number (470)

                  385-8755.

              •   User "ODT'er" consistently used telephone number (470) 385-8755 and

                  occasionally used (678) 570-2451.

              •   On November 17, 2013, in a private message, "ODT'er" informs user

                  "Fscl94" that he will be driving a blue Impala.

       74.        On January 17, 2013, the Provincial Weapons Enforcement Unit in

Ontario, Canada notified ATF that on November 15, 2013, during the course of a search

warrant on the residence of Delano Norman, the Toronto Police seized the following

firearm:

              •   Walther, Model P22, .22 caliber pistol, bearing serial number Z005606




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       75.       ATF was notified because the firearm had been previously traced by ATF.

In particular, this firearm had been identified after ATF OSI located multiple YouTube

videos associated with a personal website owned by Sherman JACKSON. Not only was

it confirmed through contact information and the website registrar that JACKSON was

the owner and the creator of the website that linked to the YouTube videos, but

JACKSON can clearly be seen and identified in the video. The firearm and the serial

number are also clearly visible in the video, and based upon this information, a trace was

initiated. The ATF National Tracing Center was able to locate the original purchaser of

the firearm, identified as Sherman Bernard JACKSON on the ATF Form 4473 completed

by JACKSON as the purchaser of the firearm and verified by the date of birth and other

personal information provided on the form.

       76.       In December 2013, based upon information obtained from an audit

conducted by USPI Henry of several United States Post Offices, over fifty packages were

identified as possibly being related to this investigation.      The shipping information

obtained by USPI Henry was forwarded by ATF OSI to investigators in Canada, the

United Kingdom, Germany, Sweden, Austria, Ireland, France, Australia, Belgium and

The Netherlands.     The release of further information regarding these packages and the

investigations are pending the completion of the MLAT's with those countries.

       77.       One parcel identified in the audit, bound for Canada and hereafter

PARCEL M , is described as follows:

             •   PARCEL     M.   sent   on   May   31,   2013,    USPS    Tracking   Code
                 EI420028958US, shipped from the USPO located on Howell Mill Road in




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                    Atlanta, GA;
                •   Consignee: Domenic Palazzolo, 111 Preston Hill Crescent, Concord,
                    Ontario, L4K 5L5, Canada;
                •   Consignor: Rory Taylor, River Town Pawn, 2125 Harkrider Street #38,
                    Conway, AR 72032.


          78.       On February 27, 2014, the Provincial Weapons Enforcement Unit in

Ontario, Canada notified ATF that, acting upon shipping information for PARCEL M ,

Canadian authorities had obtained and served a search warrant upon the residence of

Domenic Palazzolo. During the course of the search warrant, the following firearm was

seized:                                                                      j

                •   Glock, Model 26 Gen 4, 9mm pistol, bearing serial number TPY771

          79.       The Glock pistol recovered from Palazzolo was traced by the ATF

National Tracing Center and was determined to have been lawfully purchased from an

FFL by Glen Williams in the Roswell, GA area. On February 28, 2014, SA McLeod

telephonically interviewed Williams, who stated that he traded the firearm on ODT under

his username "Cajun."         Williams provided the first name of "Jeremy" and a phone

number for the individual with whom he conducted the trade. On this same date, SA

McLeod telephonically interviewed Jeremy Sims, who confirmed that he had traded the

Glock pistol with ODT user "Cajun" and that he had later sold the firearm. Sims stated

he had posted the firearm for sale both on ODT under his username "shootingforfun,"

and also on Armslist.com, a website similar to Craigslist in which individuals can post

firearms for sale. Sims stated he was contacted via email regarding his Armslist.com

posting from address 89 gunmanfo),gmail.com, which has previously been associated with




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Sherman JACKSON. Sims further stated the purchaser provided his name as "Jaclcson"

and provided the telephone number (404) 632-6287, which has previously been

associated with JACKSON. Sims stated he met the purchaser at the Starbucks on Howell

M i l l Road in Atlanta on May 31, 2013, and described the purchaser as a black male,

approximately 5'9" with a skinny build.

       80.       On March 20, 2014, SA McLeod received information from ATF OSI that

a vendor identified as "CherryFlavor_2" was operating on the Agora market'". A review

of the vendor page and sales listings for vendor "CherryFlavor_2," as well        for forum

user "Cherry_Flavor," includes, but is not limited to, the following:

             •   Vendor "CherryFlavor 2" describes himself as "The original BMR
                 number one weapons seller with over 155+ feedback." His vendor page
                 includes a TOR link to the Darknet Feedback Database for BMR user
                 CherryFlavor's feedback.                                    *'
             •   "CherryFlavor_2" had three listings for a total of five firearms for sale
                 (one Raven MP .25 caliber pistol, two Glock 19 Gen 3 9mm pistols, and
                 two Glock 17 Gen 4 9mm pistols). In the sales listings, the firearms are
                 placed on top of a photograph of a blonde, Caucasian woman whose
                 photograph was also the avatar for CherryFlavor on BMR. This is the
                 same JPEG Image image_93 that was located on the Apple I-Phone 5
                 seized from JACKSON's residence.


       81.       On March 21, 2014, SA McLeod conducted an analysis of the Agora

vendor page for "CherryFlavor_2" and the Agora forum for "Cherry_Flavor," which


^° Agora, like BMR, is a "black market" type website operating on the TOR network. It
utilizes both "buyer" and "vendor" accounts and conducts transactions in the Bitcoin
currency. It also concurrently operates a separate forum for its users.




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includes, but is not limited to, the following:

              •   Three additional firearms had been listed for sale; namely, a Cobray M-11
                  9mm Stainless Steel pistol, a Ruger P95 9mm pistol, and a Tatirus PTl 911
                  .45 caliber pistol.
              •   The sales listing for the Cobray M-11 pistol had a photograph of the same
                  female avatar with the text "BMR" printed on the photograph.          The
                  description contained in the sales posting stated "Updated pictures coming
                  soon!!! Apologies for the old pics. Decided to pull it out and list it for
                  sale!!!"
              •   The sales listings for the Ruger P95 pistol and the Taurus PT1911 pistol
                  had the firearms photographed in front of the same female avatar for
                  CherryFlavor.


        82.       A prior analysis of the BMR site on November 18, 2013 found that BMR

user "CherryFlavor" had a Cobray 9mm Mac-11 Submachine pistol and a Taurus PT1911

.45 pistol for sale (Paragraph 56).

        83.       On March 25, 2014, SA McLeod conducted an analysis of the Agora

vendor page for "CherryFlavor_2" and the Agora forum for "Cherry_Flavor," which

includes, but is not limited to, the following:

              •   The sales listing for the Taurus PTl 911 pistol had been removed, and the
                  sales listing for two Glock 17 Gen 4 pistols now only stated "one
                  available." Based upon this change, it appears as i f two firearms had been
                  sold since the previous analysis date on March 21, 2014.
              •   There was one new feedback on the vendor page for "CherryFlavor_2"
                  which stated "This is the real Cherry! Fast, professional, full escrow,
                  product as new! Warmly recommended!          I f in doubt, contact Cherry."
                  There was no sales listing linked to this feedback and the purchaser was




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                  again only listed as "anon."
              •   A review of the Agora forum located a topic entitled "Cherryflavor Scam
                  or Trusted?" in which several forum users discuss the validity of
                  CherryFlavor as a vendor on Agora.          Forum user "Cherry_Flavor"
                  participated in the discussion, stating " I now have two positive feedbacks
                  from buyers who have received their merchandise. There will be several
                  more feedbacks in the coming days."


        84.       On March 26, 2014, during the course of the audit, USPI Henry located an

additional package believed to be associated with this investigation.          The shipping

information for this package was forwarded to the ATF Liaison at Europol for

dissemination to authorities in The Netherlands. The package, hereafter PARCEL N , is

described as follows:

              •   PARCEL N . sent on February 27, 2014, USPS Tracking Code
                  EG988567671US, from the USPO in Lithonia, GA;
              •   Consignee: John van Aert, Leemstraat 15, 4750 RT Roosendaal, Noord-
                  Brabant, The Netherlands;
              •   Consignor:   Dante Lopez, LG Electronics, 469 Kingspointe Parkway,
                  Orlando, FL 32819.


        85.       USPI Henry obtained surveillance video for the February 27, 2014 mailing

of PARCEL N out of the Lithonia, GA USPO. PARCEL N was sent by a black male

individual who appears to resemble suspect Sherman JACKSON.

        86.       On March 27, 2014, SA McLeod conducted an analysis of the Agora

vendor page for "CherryFlavor_2" and the Agora forum for "Cherry_Flavor," which

includes, but is not limited to, the following:




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           •    The sales listing for one Glock 17 Gen 4 pistol had been removed,
               indicating that the firearm had sold.
           •    A new sales listing titled "Custom shipping for Gerald" was posted.


        87. On March 28, 2014, SA McLeod conducted an analysis of the Agora vendor

page for "CherryFlavor_2" and the Agora forum for "Cherry_Flavor," which includes,

but is not limited to, the following:

           •    The sales listing for two Glock 19 Gen 3 pistols had been removed,
               indicating that both firearms had been sold.
           •    The sales listing for "Custom shipping for Gerald" had been removed.
           •    There was one new feedback on the vendor page for "CherryFlavor_2,"
               which linlced to the "Custom shipping for Gerald" sales listing and stated
               "The Big man, Trust in Cherry Flavor ;)"
           •    A review of the Agora forum located multiple topics regarding
               CherryFlavor, including one titled "Yeah, it's the real cherryflavor that
               scammed me out of 5k and cutoff comm" in which . forum user
               "Cherryflavor_Scammed_30K+" alleges that he lost $5,000 for full
               escrow on a cocaine deal that fell through with CherryFlavor on BMR.
               There had been prior discussion on the BMR forums regarding user
               CherryFlavor selling (and falling through) on cocaine deals. In addition to
               this topic, user "Cherryflavor_Scammed_30K+" had posted on numerous
               other forum threads with the same accusations. There were two new posts
               from user "Cherry_Flavor" on the forum, both of which contained nearly
               identical statements acknowledging that he "could have handjed business
               better in the past," refuting having scammed the BMR community out of
               30k, and stating that "It is my goal to continue to improve my operation
               and provide an even higher level of service than I did on BMR."




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       88.     On April 2, 2014, SA McLeod analyzed postings on the website Agora.

There were new posts in the Agora forum topic "Weapons                      vendor review:

CherryFlavor_2, xdoc & Lector83." In particular, user "Faxone" discussed purchasing a

Glock 17 Gen 4 pistol from Cherry_Flavor and appeared to be complaining about

releasing escrow to the seller. Cherry_Flavor responded to the comments made in the

forum topic, but in particular stated the following. "1 informed you that your item should

be shipped out this week and you would be updated with tracking. There is no need to

keep messaging me to ask i f it has been shipped." CherryFlavor further stated, "Your

order is not the only Glock 17 Gen 4 that I have in stock. If I have listed an item again, it

is because I now have more available. M y other listings have absolutely nothing to do

with your order as your item has already been reserved."

       89.     This information regarding the purchase of a Glock 17 Gen 4 pistol by

French Agora user "FAXONE" was provided to USPI Henry, who located two packages

mailed out of the Lithonia, GA USPO on April 2, 2014 and bound for France. USPI

Henry intercepted both packages, which were taken into USPS custody pending a federal

search warrant for their contents.

       90.     On April 4, 2014, USPI Hemy obtained federal search warrants'' from the

Northem Judicial District of Georgia for the two packages (hereafter PARCEL O and

PARCEL P) seized from the USPO in Lithonia, GA. On April 8, 2014, the ATF Forensic

Laboratory in Atlanta, GA assisted in the execution of the federal search warrants on the

packages.


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       91.       PARCEL O was declared on the USPS Customs Declaration form as

Logitech speakers. The package contained a Logitech LS21 subwoofer and two stereo

speakers, and a firearm was found secreted inside. The firearm and relevant shipping

information is described as follows:

             •   Glock, Model 17, 9mm pistol, bearing serial number UUA119, with one
                 magazine, and contained in;
             •   PARCEL      O.   sent   on    April   2,   2014,   USPS   Tracking   Code
                 EG988567773US;
             •   Consignee: M . Moulon, 9 Alee de L'Universite, 92130 Issy-Les-
                 Moulineaux, Hauts-de-Seine, France.
             •   Consignor: Wesley Fletcher, LG Corp, 615 N . Zaragoza Road, El Paso,
                 Texas, 79907.


       92. PARCEL P was declared on the USPS Customs Declaration form and the

invoice contained inside the package as Logitech LS21 speakers. The package contained

a Logitech LS21 subwoofer and two stereo speakers, and a firearm was found secreted

inside. The firearm and relevant shipping information is described as follows:

             •   Glock, Model 17 Gen 4, 9mm pistol, bearing serial number WMX221,
                 with one magazine, and contained in;
             •   PARCEL     P.    sent   on    April   2,   2014,   USPS   Tracking   Code
                 EG988567787US;
             •   Consignee: Sebbagh Alexandre, Post Restanet, La Poste, Alice Andre
                 Benoist, 77410 Claye-Souilly, France
             •   Consignor: Cory Brooks, Logitech USA, 7600 Gateway Boulevard,
                 Newark, CA 94560.




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       93.    The Glock 17 pistol contained in PARCEL O was traced by the ATF

National Tracing Center, and was determined to be lawfully purchased from an FFL by

Hugh Hindmon, located in the Rockmart, GA area. On April 9, 2014, SA Greer

telephonically interviewed Hindmon, who stated he sold the firearm to Bobby Helms, and

provided a contact telephone number for Helms. On this same date, SA McLeod

telephonically interviewed Helms, who confirmed he purchased the Glock 17 pistol from

Hindmon and later sold the firearm on ODT under his usemame "Bobbyhelms." Helms

stated the purchaser of the firearm was ODT user "tlglOS," and provided the first name of

Troy and a contact telephone number for the purchaser. On this same date, SA McLeod

telephonically interviewed Troy Gann, who confirmed he was ODT user "tlglOS" and

that he had purchased the Glock 17 pistol from Helms. Gann stated he sold the firearm

on ODT to user "TraderTommy" on March 28, 2014. Gann stated he was contacted via

private messaging by "TraderTommy," who first provided a contact telephone number of

404-416-3011. When Gann sent a private message stating that the phone number didn't

work, "TraderTommy" provided the additional contact telephone number of 470-213-

0571. Gann stated he met with the purchaser at the People Pleaser gas station in Bremen,

GA. Gann described the purchaser as a black male, late 20's in age, approximately 5'10"

with a stocky build, driving an old police vehicle with a spotlight on the driver

side. Gann provided SA McLeod with a screen shot of the private messages between

himself and ODT user "TraderTommy." An open source review of the ODT profile for

user "TraderTommy" found feedback left by ODT user "tlglOS" on March 28, 2014.




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           94.   The Glock 17 pistol contained in PARCEL P was traced by the ATF

National Tracing Center, and was' determined to be lawfully purchased from an FFL by

Cheryl Estrada, located in the Villa Rica, GA area. Due to the extremely short time from

purchase of the firearm on March 2, 2014 to the seizure of PARCEL P on April 2, 2014,

ATF agents are obtaining ftirther intelligence on the purchaser prior to conducting an

interview of Estrada.

       95.       USPI Henry obtained surveillance video from the Lithonia, GA USPO

depicting the shipments of PARCEL O and PARCEL P on April 2, 2014. Based upon a

review ofthe video surveillance, two individuals appearing to resemble suspects Brendan

PERSON and Sherman JACKSON are seen entering the USPO, each carrying a

package. PARCEL O, with the "LG" logo visible on the shipping label, was shipped by

the individual who appears to resemble PERSON.             PARCEL P was shipped by the

individual who appears to resemble JACKSON.

       96. On November 20, 2013, an ATF records check found that neither Sherman

Bernard JACKSON nor Brendan Sherrod PERSON were licensed as Federal Firearms

dealers.




                                         CONCLUSION

       97.       Based upon this information and the facts set forth in this affidavit there is

probable cause to believe that Sherman Bernard JACKSON and Brendan Sherrod

PERSON have committed violations of Title 18, United States Code, Section

922(a)(1)(A), engaging in the business of dealing in firearms without a license; Title 18,




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United States Code, Section 554(a) Smuggling Goods from the United States; Title 18

United States Code 922(e) Failing to Disclose Firearms to a Common Carrier; Title 18,

United States Code, Section 371 Conspiracy and Title 18, United States Code, Section 2.




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